                Case 11-36171 Document 42 Filed in TXSB on 09/26/13 Page 1 of 1

                                      UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF TEXAS


In Re: Jacey Ray Jetton
       Fanny Tsui Ling Jetton                                                     ENTERED
       Debtor(s)                                         Case No.: 11−36171       09/26/2013
                                                         Chapter: 7


                                               ORDER CLOSING CASE


The estate has been fully administered. Therefore, the Court orders:

1. Eva S Engelhart is discharged as trustee of the estate.

2. The Trustee's bond is cancelled.

3. The case is closed.




Signed and Entered on Docket: 9/26/13
